                                          Case 18-15539                   Doc 31     Filed 08/06/18           Page 1 of 2                   8/06/18 2:31PM




 Fill in this information to identify your case:

 Debtor 1                  Celestine Clark
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number            18-15539
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         City of Baltimore                                     Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of        5800 Key Avenue Baltimore, MD                      Reaffirmation Agreement.
    property              21215 Baltimore City County                        Retain the property and [explain]:
    securing debt:        Current Value is Market Value
                          Minus 10% Cost of Sale


    Creditor's         City of Baltimore                                     Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of        5800 Key Avenue Baltimore, MD                      Reaffirmation Agreement.
    property              21215 Baltimore City County                        Retain the property and [explain]:
    securing debt:        Current Value is Market Value
                          Minus 10% Cost of Sale


    Creditor's         Nationstar Mortgage now mr                            Surrender the property.                        No
    name:              coooper                                               Retain the property and redeem it.
                                                                                                                            Yes
                                                                             Retain the property and enter into a


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 1

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                                          Case 18-15539               Doc 31        Filed 08/06/18               Page 2 of 2                          8/06/18 2:31PM




 Debtor 1      Celestine Clark                                                                        Case number (if known)    18-15539

     Description of     5800 Key Avenue Baltimore, MD                       Reaffirmation Agreement.
     property           21215 Baltimore City County                         Retain the property and [explain]:
     securing debt:     Current Value is Market Value
                        Minus 10% Cost of Sale

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Celestine Clark                                                          X
       Celestine Clark                                                                  Signature of Debtor 2
       Signature of Debtor 1

       Date        August 6, 2018                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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